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               EXHIBIT 5
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                                     Applicant: Charity Rachel Kirby: 1st:   12.09.2023




      IN THE GENERAL DIVISION OF THE HIGH COURT OF THE
                   REPUBLIC OF SINGAPORE

 HC/OA       /2023

                        In the Matter of Section 29 of the International
                        Arbitration Act 1994 (2020 Rev Ed)

                                                   And

                        In the Matter of Order 48 Rule 6 of the Rules of Court
                        2021

                                                   And

                        In the matter of an arbitration between (1) Liberty
                        Steel East Europe (Bidco) Limited and (2) Liberty
                        House Group Pte Limited as Claimants; Liberty Steel
                        East Europe (Holdco) Limited as Counterclaim
                        Respondent; and (1) ArcelorMittal Holdings AG and
                        (2) ArcelorMittal Luxembourg as Respondents

                                                Between

                        1. ARCELORMITTAL HOLDINGS AG
                           (Swiss Registration No. CHE-112.701.185)

                                                                        …Applicant

                                                And

                        1.    LIBERTY      STEEL     EAST                    EUROPE
                              (HOLDCO) LIMITED
                             (English Company No. 11604439)

                        2.   LIBERTY HOUSE GROUP                              PTE
                             LIMITED
                             (Singapore UEN 201113318W)

                                                                    …Respondents


                             AFFIDAVIT
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 Name of maker:        CHARITY RACHEL KIRBY

 Office Address:       King & Spalding International LLP, 125 Old Broad Street,

                       London EC2N 1AR

 Occupation:           Senior Associate based in the London office of King &

                       Spalding International LLP

 Description:          Lawyer for the Applicant


        I, CHARITY RACHEL KIRBY (British Passport No. 543415320), care

 of King & Spalding International LLP of 125 Old Broad Street, London EC2N

 1AR, do solemnly and sincerely swear and say as follows:


 1.     I am a solicitor of the Senior Courts of England & Wales and a Senior

        Associate based in the London office of the firm King & Spalding

        International LLP. I am instructed by the Applicant and assist with conduct

        of this matter on behalf of the Applicant. I am duly authorised to make this

        Affidavit on behalf of the Applicant.


 2.     The matters deposed to in this Affidavit are true insofar as they are within

        my personal knowledge. Matters deposed to herein which are not within

        my personal knowledge are true to the best of my knowledge, information

        and belief and/or are based on documents that I have reviewed. For the

        avoidance of doubt, nothing in this affidavit should be taken as a waiver of

        privilege in respect of any legal advice that has been obtained.


 3.     I make this Affidavit in support of the Applicant’s application for
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       permission to enforce the Partial Final Award dated 24 January 2023

       (“Partial Final Award”) of the arbitral tribunal comprising Sir Michael

       Burton, Sir Jeremy Cooke and Klaus Reichert SC (“Tribunal”) in LCIA

       Arbitration No. 215327 (“Arbitration”) in the same manner as a Judgment

       of the General Division of the High Court of Singapore or an order to the

       same effect, pursuant to Section 29 of the International Arbitration Act

       (2020 Rev Ed) and Order 48 Rule 6 of the Rules of Court 2021

       (“Application”).


 I.    THE PARTIES


 4.    The Applicant, ArcelorMittal holdings AG, is a company incorporated in

       Switzerland, with its registered office at Alpenstrasse 15, Zug, 6304,

       Switzerland.


 5.    The 1st Respondent, Liberty Steel East Europe (Holdco) Limited, is a

       company incorporated in the United Kingdom, with its registered address at

       40 Grosvenor Place, 2nd Floor, London SW1X 7GG, United Kingdom.


 6.    The 2nd Respondent, Liberty House Group PTE Limited, is a company

       incorporated in Singapore, with its registered address at 8 Marina View,

       #40-06, Asia Square Tower 1, Singapore 018960.


 7.    The 1st Respondent and the 2nd Respondent are collectively referred to as

       “Respondents”.
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 II.   THE ARBITRATION AGREEMENT AND THE ARBITRATION


 8.    The Applicant and the Respondents are parties to a Share Purchase

       Agreement dated 6 June 2019 (“SPA”), and a Side Letter to the SPA dated

       28 June 2019 (“Side Letter”). Certified copies of the SPA and the Side

       Letter are annexed hereto and respectively marked “CRK-1/001-0861 and

       CRK-1/0862-0877”.


 9.    Clause 11 of the Side Letter provides:


       “11. Any dispute arising out of or in connection with this letter
       agreement, including any question regarding its existence, validity or
       termination, shall be referred to and finally resolved by arbitration, under
       the LCIA Rules in force when the notice of arbitration is submitted in
       accordance with the LCIA Rules, which Rules are deemed to be
       incorporated by reference into this paragraph. The place of arbitration
       shall be London, England. The number of arbitrators shall be three (3) with
       the Purchase Parties, on the one hand, and the Sellers, on the other hand,
       each entitled to nominate one arbitrator, and the third arbitrator, who shall
       serve as president of the tribunal, shall be nominated by the party nominated
       arbitrators. The language to be used in the arbitral proceedings shall be
       English. Each party irrevocably and unconditionally consents to such
       arbitration as the sole and exclusive method of resolving any dispute arising
       out of or in connection with this letter agreement, including any question
       regarding its existence, validity or termination. The award of the arbitral
       tribunal shall be final and binding on the parties. The parties agree that they
       will not have recourse to any judicial proceedings, in any jurisdiction
       whatsoever, for the purpose of seeking appeal, annulment, setting aside,
       modification or any diminution or impairment of its terms or effect insofar
       as such exclusion can validly be made. Judgment upon any award rendered
       may be entered in any court having jurisdiction thereof, or any application
       may be made to such court for a judicial acceptance of the award and an
       order of enforcement, as the case may be.”
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 10.   On 21 October 2021, Liberty Steel East Europe (Bidco) Limited (“Liberty

       Bidco”) (another party to the SPA and the Side Letter), and the 2nd

       Respondent commenced the Arbitration against the Applicant and

       ArcelorMittal Luxembourg (“AM Luxembourg”) by issuing a Request for

       Arbitration.


 11.   The Tribunal was appointed on 12 January 2022.


 12.   The 1st Respondent was subsequently joined as the Counterclaim

       Respondent to the Arbitration by way of a procedural order issued by the

       Tribunal on 28 March 2022.


 13.   Under the SPA and the Side Letter, the Respondents (and other parties)

       agreed to purchase shares in companies holding or ultimately holding

       certain steel mills in various locations in Europe from the Applicant and AM

       Luxembourg.


 14.   The Arbitration concerned two post-closing payments, one, arising from

       what the parties to the Arbitration described as the “Market Test” which,

       only if satisfied, triggered an obligation on the part of Liberty Bidco and the

       2nd Respondent to pay the Applicant and AM Luxembourg EUR

       100,000,000; the second, described by the parties to the Arbitration as the

       “Deferred Amount”, is a payment of EUR 140,000,000 (“Deferred

       Amount”) to be paid in instalments at specified future dates, which could

       also become due before the specified future dates on the occurrence of
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        certain specified events (“Deferred Amount Issue”).


 15.    The Partial Final Award is concerned only with the Deferred Amount Issue.


 III.   THE PARTIAL FINAL AWARD


 16.    On 24 January 2023, the Tribunal issued the Partial Final Award in relation

        to the Deferred Amount Issue. A certified copy the Partial Final Award is

        annexed hereto and marked “CRK-1/0878-0902”.


 17.    In the Partial Final Award, the Tribunal found, held, declared and awarded

        as follows:


        (a)    The Deferred Amount, together with any interest and other amounts

               accrued in connection therewith, is due and immediately payable

               pursuant to Clause 20.4 of the SPA; and


        (b)    The Respondents are therefore jointly and severally liable to pay to

               the Applicant the sum of EUR 140,000,000 plus interest at a rate of

               5% per annum (on a 365-day basis), accruing on a daily basis and

               compounding annually from (and including) 11 March 2022 to (but

               excluding) the date of payment. At the date of the Partial Final

               Award, interest had been accruing at a daily rate of EUR 19,178.08

               from (and including) 11 March 2022 and the total amount of interest

               payable as at the date of the Partial Final Award was EUR
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              6,136,985.80.


 IV.   NON-COMPLIANCE WITH THE PARTIAL FINAL AWARD


 18.   On 27 January 2023, the Applicant demanded from the Respondents

       payment of EUR 140,000,000, together with an interest amount of EUR

       6,194,519.84 accrued up to and including 27 January 2023.


 19.   On 27 January 2023, the Applicant’s solicitors in the Arbitration, Cleary

       Gottlieb Steen & Hamilton LLP, wrote to the Respondents’ solicitors in the

       Arbitration, Clyde & Co LLP, to demand that the Respondents make

       payment of EUR 140,000,000, together with an interest amount of EUR

       6,194,519.84 accrued up to and including 27 January 2023 to the Applicant.


 20.   To date, neither the Respondents nor the Respondents’ solicitors have

       responded to the above-mentioned letters (collectively, “Demand

       Letters”).


 21.   The Demand Letters referred to in paragraphs 18 and 19 above are annexed

       hereto and collectively marked “CRK-1/0903 and CRK-1/0904-0905”.


 22.   Despite the Applicant’s multiple demands for payment, the Respondents

       have failed and/or refused and/or neglected to comply with the Partial Final

       Award to date.


 23.   Given the foregoing, the Applicant is compelled to make this Application to
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       enforce the Partial Final Award against the Respondents.


 V.    FULL AND FRANK DISCLOSURE


 24.   In compliance with the Applicant’s duty to give full and frank disclosure

       with respect to material facts for an ex-parte order, the Applicant hereby

       draws the following matters to the attention of the Court.


 25.   First, it is at least possible that the Respondents may seek to resist

       recognition in Singapore of the Partial Final Award. The Applicant cannot

       at present anticipate any particular grounds on which the Respondents may

       rely to challenge recognition of the Partial Final Award, and the Applicant

       considers that any such challenge would be bound to fail given that (a) the

       Partial Final Award is an award under the New York Convention, and the

       grounds on which it could be set aside are accordingly limited; (b) there is

       a subsisting order of the English High Court dated 24 February 2023,

       recognising the Partial Final Award and granting leave to the Applicant to

       enforce it (the “English Order”); (c) the English Order directed the

       Applicant to serve the Order on the Respondents, who then had 14 days from

       the date of service to apply to the Court to set the English Order aside; (d)

       as ordered, the Applicant served the English Order on the Respondents on 3

       March 2023; (e) the Respondents chose not to apply to set aside the English

       Order and did not raise any objections to the enforcement of the Partial Final

       Award, despite having the right to do so; and (f) the Respondents’ deadline
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        for applying to set aside the English Order has now long expired.


  26.   The Respondents’ decision not to apply for a set aside of the Order, coupled

        with their failure to raise any arguments as to why the Partial Final Award

        should not be enforced signifies that, in reality, there exists no substantive

        basis for such arguments. In view of the foregoing circumstances, the

        Applicant believes that any challenge by the Respondents to recognition of

        the Partial Final Award will not succeed. A copy of the English Order dated

        24 February 2023 is annexed hereto and marked “CRK-1/0906-0908”.


  27.   Second, the Respondents’ solicitors have not been instructed to accept

        service of process. On 3 March 2023, the English Order was therefore

        served on the 1st Respondent in the United Kingdom by delivering a copy to

        the 1st Respondent’s registered address, and on the 2nd Respondent in

        Singapore by (a) leaving a copy of the English Order at the 2nd Respondent’s

        registered address; (b) delivering a copy of the English Order to the ultimate

        beneficial owner and director of the 2nd Respondent, Mr Sanjeev Gupta, by

        leaving it at his registered address in Singapore; and (c) delivering a copy

        of the English Order to the company secretary of the 2nd Respondent, Mr

        Tze Sek Sum Patrice Charles, at his registered address in Singapore. Neither

        of the Respondents has acknowledged service of the English Order, and they

        have also not challenged service of the English Order. Notwithstanding that,

        I am advised that the English Order has been validly served on the 2nd

        Respondent under Singapore law.
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